Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 1 of 62




       Exhibit A
               Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 2 of 62

  `gd^0}                             WedGnP} PNoMGnWge} NGnG}                        ,+-20+0+
iGSP} ++,}                                 nkGemMkWin}                       &       +>B09A6-

kPSWmnPk} egA} ,?6;?,,,}             eGdP}&'}A} HeNkPtm}                           QpeMA} ikn}
QgkdGn}$$$$%}A} nkHemMkWin}           kmi} gQA} agd`gdigM} omi}

                                PNoMGnWge} WeQgkdGnWge}  |
QGM`} GmmWSedPen} NPmMkWinWge}                     mnGkn} NGnP*nWdP} mngi} NGnP*nWdP}
`gd} Pm`} UGm}    PeS`WmU} ikgQWMWPen}             +,0+0+-9} +++-} MokkPen
`gd} SPN} UGm}    Mgdi`PnPN} SPN} gk} Um} NWi`gdG} +2+>0+-9} +++,} MokkPen

                                           PNoMGnWge} MgokmPm}
moKQGM`}          NPmMkWinWge}                         mnGkn} NGnP} mngi} NGnP} Psen}     GM} `r} Ukm}
`gd}               GUM} dGnU} -02} P`PdPenGkw} mnGnm} +,0-0+0+} MokkPen
`gd}               GUM} imwMUg`gSw} --0}                +-0-0+0+} MokkPen
`gd}               GUM} mgMWg`gSw} --+}                 +-0-0+0+} MokkPen
`gd}               GUM} ig`XnWMG`} mMWPeMP} -+,}        +>-?0+,?} -0+90+,?     M}      M}   i}    +}
`gd}               GUM} imwMUg`gSw} -+-SPePkGaimwM} +>,?0+-?} ,0+90+,?        M}      M}   i}    +}
`gd}               GUM} dGnU} 22-} G`SPKkG} 0}          +>-?0+-?} ,0 +90+,?     M}      M}   i}    +}
`gd}               GUM} SPgSkGiUw} -+0UodHe} SPgSk} +;-+0+-?} +< 2-0+-?        M}      M}   i}    +}
`gd}               GUM} iPkmgeG`} NPrP`gidPen} -++}     +;,+0+,?} +<2-0+-?     M}      M}   i}    +}
`gd}               GU} dGnU} 2,,} G`SPKkG} -}           +. 000+,?} +9 -?0+-?     M}      M}   i}    +}
`gd}               GUM} imwMUg`gSw} ,,?}                +.000+,?} +9-? 0+-?     M}      M}   i}    +}
`gd}               G`nPke} rWg`PeMP} nkGWe} 6} QGMW`} +0,?0+,?} +0 0+0+,?       i}      M}   {}   ,>}
`gd}               GUM} UWmngkw} ,+9tPmn} MWr} ,;9+} +>0+0+->} -0-20+,>       M}      M}   i}    +}
`gd}               GU} dGnU} 2,-} G`SPKkG} ,}           +>0+0+->} -0,30+,>}    #      #   #    +}
`gd}               GMP} gmUG} ,+} Ugok} MPknWQXMGnWge} -0+;0+->} ,0,00+,>}     i}      t}   r}    +}
`gd}               GMP} gmUG} ,+} Ugok} MPknXQXMGnWge} ,0+70+,>} -0+;0+,>}     i}      t}   r}    +}
`gd}               GUM} KomWePmm} ,;+} KomWePmm} Mgd} +;-,0+,>} +> +00+->       M}      M}   Q}    +}
`gd}               GUM} PMgegdWMm} ,2+} Mgem} QWeGeMP} +;-,0+,>} +>+00+->}     M}      M}   i}    +}
`gd}               GUM} MgdiGkGnWrP} ig`WnWMm}          +,000+,>} +9020+->}    M}      M}   i}    +}
`gd}               GUM} imwMUg`gSw} ,,2}                +,000+,>} +9020+->}    M}      M}   i}    +}
`gd}               SPn} kWSUn} t*wgok} QPN} WeM} nGvPm} -0 2+0+,=} +-0= 0+->}    i}      M}   i}    >}
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`gd}               GMP} KPSWeeWeS} miHeWmU} `HeSoGSP} +? 2+ 0+,=} -0-;0+-=}      i}      t}   r}    6}
`gd}               GUM} kPMx+x} Wenkg} kPM} dSn}        +>0,0+,=} -0+=0+-=}    M}      M}   i}    +}
`gd}               GUM} PeS`WmU} ,+,} QkPmUdGe} Mgdi} +>0,0+,<} -0+<0+-=       M}      M}   i}    +}
`gd}               GUM} dGnU} 92,} ikPGaSPKkG}         +>0,0+-<} -0+<0+-=     M}      M}   i}    +}
`gd}               GNrHeMPN} G`nPkeGnWrP} rYg`PeMP} +?0;0+,<} -++9 0+-=         i}      M}   {}   ,>}
`gd}               GUM} SPgSlGiUw} ,+2tkaN} kPSXge`} +;,00+,<} +> +>0+-<}      M}      M}   i}    +}
`gd}               GUM} mgMWg`gSw} -+-Wenkg} ng} mgM} +;-00+-<} +>+>0+,=}     M}      M}   i}    +}
`gd}               GUM} iP} ,22} wgSG} QWnePmm}         +;,00+-<} +>+>0+,<}    M}      M}   i}    +}
`gd}               GMP} GdPkWMHe} tPmn} UWmngkw}        +;,+0+-<} +<0?0+-=}    i}      t}   r}   ,+}
`gd}               KGmWM} G`nPkeGnWrP} ng} rWg`PeMP} +=+?0+-<} +<+?0+,<        i}      M}   i}   ->}
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agd}               GUM} mnPi} GPkgKWMm}                 +-020+-=} +90;0+,=     M}      M}   i}    +}
`gd}               GUM} UPG`nU*QWkmn} GWN*Mik}          +22-0+-<} +90;0+,=     M}      M}   i}    +}
`gd}               GUM} UPG`nU} PNoMGnWge} ,++}         +,020+-<} +90;0+,<     M}      M}   i}    +}
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`gd}               GUM} HenUkgig`gSw} -+0}              +,020+,<} +90;0+,<     M}      M}   i}    +}
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rWi}               UpdJ} kZSUnm} GMP} M`Gmm}            +>060+,;} ,,020+,;     i}      M}   i}   /+}
rWi}               aWQP} m_W``m} GMP} M`Gmm}            +>120+-;} --020+-;     {}      M}   {}   ,+}

S+++0}              dgkP} iGSPm} ng} Qg``gt}


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             Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 3 of 62
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jGTP} ++0} gR} ++0} }                 nkGemMk[jn}                         +>D0:D8,

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moKRGMb}  OPmMk[jn[ge}                       mnGkn} OGnP} mngj} OGnP} Psen} GM} br} Ukm}
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r[j}       MgddPkM[Gb} Ok[rPkm} b[MPemP} GMP} +>0+0+,;} ,,040+,;     j} M} j}     ,+}
r[j}       KgOw} RGn} nPmn} nkG[e[eT} MbGmm}  +:,>0+,;} +?080+,;     j} M} {}      ;}
r[j}       KPT[eePkm} uP[TUn} dGeGTPdPen}     +>,,0+,;} +?000+,;     {} M} j}      ;}
r[j}       mnoOw} gR} O[GKPnPm}               +>,00+,;} +?,;0+,;     {} M} {}     ,0}
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             Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 4 of 62

  cgd^0} 95,$+,} }                   YedGnP} VYmngkw}                    }    ,+,50+0+}
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 MGnPTgkwD} tk_}          RoeMnYgeD} jkn}           RgkdGnF}

RMc}     Gmm[TedPen} NPmMk[jnYge}                           mnGkn} NGnP*nYdP} mngj} NGnP*n[dP}
cgd}     gkN} R} jd} gkNPkcw} R} oe[n} jd}                  +,080+,@} ,++,} MokkPen}
cgd}     gkN} R} Gd} gkNPkcw} R} oe[n} Gd}                  ,+,90+,>} +++,} +,080+,@} ,++,}
cgd}     pfGmmT}       oeGmm[TePN jPeN[eT} tk_} GmmYTe}    +>+@0+,>} ,09>} ,+,90+,>} +++,}
cgd}     NPn} pfGmmT} pfGmm[TePN} mPTkPTGnYge} YedGnPm}     +=050+,>} ,885} +>+@0+,>} ,09>}
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cgd}     rn} LGkLPk} LGkLPk} rn}                            +,+80+,>} ,59=} +5+90+,>} +++,}
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rYj}     oeGmmTe}      peGmmYTePN} [edGnPm}                 +0+9#0+,9} +++,} +=,,0+,9} +@,,}
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     Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 5 of 62




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                       Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 6 of 62
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                         Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 7 of 62




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                   ˭ ӡĝ‫׎ ٰ׀ ̹۾‬ĈДYĮ@‫۾‬                                           ͊¡Ҷ‫۾‬.ЕЖïOïɀ‫۾‬          w‫ڧ؎̗۾‬Ϛ҅ւ÷‫۾ڨ‬íƷǧʜÏÐʜ*З_T) ‫۾‬

۟‫۾‬                   ў‫ۊ‬œҡ‫ًٱ‬Ңšʁ‫׏ٳضٲ‬Ǜżʾ ՄϿ ‫۾‬Ô‫ٴط‬ϣҸü4؏‫̺۾‬Иׁ‫ٵ‬ң‫א‬ЙԢКՅ‫۾ظ‬

۠‫۾‬                  ˋЛǜӰ‫۾҆ع‬γՆЀ‫۾‬ΐăUĎМؐؑ‫ ۾‬ÒOׂ‫ב ٶ‬OԣНՇ‫۾غ‬

                   ʂփԤ֩Oį4Ոê‫۾ک‬F‫ٷ׃‬û‫ס‬иԥ:‫۾ػ‬

&                  ʿОՉП‫ג‬δă‫۾‬iЁ‫ٸ‬йϤҤҥքՊ‫ ۾‬ÒРׄ‫ד ٹ‬СԦТՋ‫۾ؒؼ‬


 ]j,;NCN9ko'ANVoo                                                                                                                                                                             o

                  ̘0Λ¸ˌ̋˦̌lΜ‫۾‬ʃs̻‫¸۾‬s;̼xʣxŢƪǿ‫˸Ϳ۾‬qͪx‫۾‬

                    ʤӱӠ؆ñՌӲε؊‫ ͋۾‬ãٌþؓ‫ ؽ‬ϛؔ‫۾‬                                           ˮɣƫn‫ ۾‬ƬǝȀ‫۾‬            ʥ8УԧФՍҦζ‫ؾ͌۾ڳע‬η ؕ‫ؿ‬ҧϹ‫۾‬                                 ̙‫۾‬           Ö֪ĞҨՎѫ‫۾‬ǞƅǟƆ‫۾‬

                   ˀòՏò]θ‫ؖ̚۾‬ƭ ϜS օѬ‫۾ڪ‬                                           ̛͍Ν‫ ۾‬ƮƇƯ‫۾‬             ˁХՐЦĜιĄ‫ګ̜ؗ۾‬ϝ҇ֆևѭ‫۾ڬ‬                                  ɤ‫۾‬              ʲՑӽ9‫۾‬Ǡƈưȳ‫۾‬

       &             ͫ҈Ч \&Ш‫۾ؘ‬Ē‫۾‬t3‫' ה‬κT‫۾ڭـ‬                                      ͎‫ف‬ýӾ8‫˹۾‬ЩЪЂЫЃɁ‫۾‬          ȁ‫ ΀ ۾‬¢‫۾‬Ւ‫͏̝۾‬Ξ‫ ۾‬deȂŅ‫۾‬

       &             wӳЬϞ¢‫̍۾‬Z‫۾҉ق۾ו)۾‬ʳӿ‫ڝ‬ҩZѮ‫۾‬ʄäħ‫ؙ‬4Ĩɂ‫۾‬                         ͐İ ‫˺۾‬4ЭЄ4ЅɃ‫۾‬          ¹Ҋ     ĩЮ‫ץ۾‬ֈĉ‫ ۾‬#‫ك۾) ۾‬ҋ‫۾‬џ։Ԁ8֊‫ڞ‬üĎQɄ‫۾‬

  &                  ·ҌûԁІ‫۾‬t‫ڮؚ‬Kҍ)֋Ⱥ‫۾گ‬                                            ͑ıӴ8‫˻۾‬ЯаλбMɅ‫۾‬            Ŋ‫ ۾‬5ʜ΁Փı‫۾‬ҪՔ‫۾‬ôüćʜffȠ‫۾‬Ŏ‫۾‬Ĕ‫۾ז‬

                    Ä‫ٺ‬ԨμՕ‫۾‬ʛ‫ړ‬Ąē֫Ċв¢‫۾‬²ë‫ח‬ĔĨħ‫۾‬ĲҎг‫۾‬ÈҷѠĩĚä‫۾‬                       Õĳ ӵ9‫˼۾‬дðMóMɆ‫۾‬            ŋ‫ ۾‬ȃ‫΂۾‬Ֆý"‫۾‬ҫ՗‫͒۾‬Ο‫§۾‬f‫۾‬ɻ‫۾‬ŏ‫۾‬

                ̞ÖΠʅÅ̎˧̏Ρ‫۾‬Õ¾È¾ʆzʦʜ‫۾‬ʇ/΃̽wʧ͓‫۾‬ţ Ʊǡ‫۾͔ͬ˔˽΄ ۾‬
                                                                                                   Ӷ՘Ҭ‫۾֍ل۾֌ט‬ʈ‫ٻ‬ӷ‫יټم‬ǢC‫۾‬ɥՙӸҏ‫۾֎ך‬                            ɦ‫۾‬             ͕֬‫כ‬ҭ՚ѯ‫۾‬ǣƉƶȢ‫۾‬
                                                                                    ̟͖΢‫ ۾‬ƲƳȴ‫۾‬              ŽņŔϓ՛֏‫ףל‬՟νŕĿ‫ڰ؛̠۾‬ϟҐ֐ӧɝۡ‫۾ڱ‬                                           ֭͗‫ם‬Ү‫מ‬ɑۢ‫۾‬Ǩƍ‫ۋ‬ƴ‫۾‬Ѱ‫۾‬
                     Ôеӹɜʉ‫ ۾ن‬ƵǤ‫΅ ۾‬՜ү‫۾؜ه‬ѡĞ֑ԩ‫ ۾‬Ӻґж‫ ۾‬ʴĕԂ֒Ŗ‫ڔ‬Ұ՝ѱ‫۾‬
                                                                                    ̐͘ʊ‫ی۾‬Ӣ̱‫ۍ‬C‫۾‬             ӻğ‫ן‬ů‫ۣۤפ‬Ť ‫و‬Ϡ‫͙֓ ۾‬ϡұϢ֔Ѳ‫۾ڲ‬                                                ͚‫  ى‬՞Ʒ¥ѩз  ǥƊ‫۾ي‬ȡ‫۾‬
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               Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 8 of 62




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‫ˍ ۾ۦ‬5οԆ٨Ҝ‫۾‬πՠЈ‫۾‬ΒкԏԐлĪĪ‫پׅ̿۾‬ԇ‫צ‬ċā‫۾؝‬
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  ۨ‫۾‬        Æρ"ғ‫۾‬â Љ‫۾‬ΓнԈ93‫۾ؠ؟‬Ŧ ֯٧ < ‫۾‬Ȇ‫۾‬

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   ۩‫۾‬        Ҕ‫آڵ‬Ϧ}Ć‫۾‬²ϧْһ‫۾ڶٓڕ‬
                                                                       ̣‫ ۾‬ƺ Ȗ ¯ ‫۾‬        Ó¡ְ‫۾‬³о‫ ר‬ϔҼϨ‫۾أ‬                                  ɨ‫۾‬                  ֱġգѵ‫۾‬ǪƐƻ ȥ‫۾‬

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۱‫۾‬         ¼ԙųÙ m/FΧ‫۾‬ǭɉ‫ ˏ۾‬Û Íɰ̅‫˝ ۾‬.ͳ˞ʹ΋͵Ð̆G‫۾‬

 ۲‫۾‬         ɱ‫  ۾‬ì2!‫۾‬íĀô;ìф‫׭ځ́۾‬԰хď"‫۾‬                             ̧/D͠‫ ۾‬ǀ ƕȘ‫۾‬        ʏ֛؇ֶχ‫׼‬ϑ‫ږ‬P‫ ̨۾‬Ӄٜϫ‫۾ا‬                           ɲ‫۾‬        ¯‫۾‬        ַġըѺ‫۾‬ǮƖǁ Ȟ‫۾‬

 ۳‫۾‬         ¶¦‫̩ ۾‬Ř‫׮‬ϬJĐ‫۾‬p‫ب‬ٝ ^‫۾^ ۾ڿ‬ĕ‫׽ڗ‬ջԱ3թĳ‫۾‬u3‫ڂ׈‬T‫ ׯ‬ԲцժĴ‫۾‬           nÇͶ © © ȯ ‫۾‬       Ό ͡ ‫۾‬ː‫ة‬İƗԋŐŇ‫۾‬                                  ɾ‫۾‬        Ȋ‫۾‬        yָ‫װ‬իѻ‫۾‬ǯƘǂ Ȩ‫۾‬

۴‫۾‬         ¼ѧŴÚʪ ˃/Fß‫۾‬ȋɊ‫۾‬ˑÛÍɳ̇ͷ¿y‫۾‬

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 ۵‫۾‬         ÆĻԳ Ӗ`чĬ‫͂ ۾‬ļ‫ױ‬шԴį‫۾‬                                   ۶!͸‫۾‬ǃ ,ș‫۾‬        Ζщ‫ت‬ٞъ‫׾‬ռ‫۾‬ʐӄ‫ژ‬ӅĆ‫|ۀ‬ٟӆ֜լ‫۾‬Gխϭы‫ ۾‬Ǆ ȟȚ‫۾‬                      Ȍ‫۾‬        jå9ԑ‫۾‬ǰƙǅȰ‫۾‬

۷‫۾‬         ʑɴHÀm/Fß‫۾‬řǆ ɋ ˒Ǉ̈˄΍ɵ˅ʫ‫۾‬ɶ!Ũʠ‫̓ ۾‬Ƃ͹C̒̉Ł˫ͺΨ‫۾‬

 έ‫۾‬         ɷ‫۾‬ΗӇԒьծ‫۾‬ʒ ČֹĖ‫ث‬ӈ٠ կ‫̈́۾‬э‫ڃ׉‬ӉюV;١‫۾‬                         ʬ.ˆÉ‫۾‬ȩ ƚǈ‫۾‬         ʹ‫׿‬ќ‫ج‬ҙԵψհ‫۾‬ʓ֝ԶֺɌ‫۾‬ʭ‫حֻ֞ڢ‬ӗԓ֟đ‫۾‬                              ۸‫۾‬        ʺω‫۾‬Ǳƛǉ Ȫ ‫۾‬

 ۹‫۾‬         ¶ŵ‫۾‬ʔĖԷČ‫ڄ‬ձӊϮϊ٢֠:‫۾‬Ń‫۾‬ƃ J‫ں‬ӋíãԌ‫ͻ۾‬ҚӨӌղѼ‫ͅ۾‬я‫څ‬Ӎ‫؃‬ôԸѐďĵ‫۾‬        Gʕn‫ ۾‬ǖ ƧǊ‫۾‬        ̪‫چ‬ϖ!Әϯ‫ּ͢۾‬ёJө:ѽ‫۾‬                                          ȍ‫۾‬        yģ&ճѾ‫۾‬ǲƜǋ ȫ‫۾‬

         ʖžۖŚÚʮˇ̓Ѣ‫ۺ‬Ω‫۾‬țɍ‫۾‬ÊˣΎ˟̊ˈ‫ͣ۾‬ԔɛˠÊ˪‫۾‬

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            Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 9 of 62


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Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 23 of 62




        Exhibit B
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  Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 33 of 62




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   Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 34 of 62




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                Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 40 of 62


Ashley Riser

From:              Aqueenah Gude <miss.gude@yahoo.com>
Sent:              Friday, December 4, 2020 4:08 PM
To:                Ashley Riser
Subject:           Character Statement for Clarence Andrews



Hello Ashley,

Hopefully it is not too late to submit my character statement for Clarence Andrews. I typed it below. Thank you.


Dear Judge,

My name is Aqueenah Gude and I am a close family friend of Clarence Andrews. As someone who has been
apart of this journey with him these past 7 years, I can say that Clarence has taken every opportunity to learn
from this experience and make better decisions for his life. This experience has forced him to sit down and
really think about the trajectory of his life and how the decisions he’s made has impacted those around him. We
talk often about redemption and how he is not defined by poor decisions he’s made in the past but how he
chooses to move forward once he’s realized the errors in his ways. Clarence has been a huge inspiration in my
life, as a mentor and a confidant and there has been a huge void in our family since he has been incarcerated. I
believe it would be beneficial for him, our family and our community at large to return home so he can serve as
an inspiration for all of us, especially his young son Joshua. Clarence is intelligent, compassionate and
determined. He also has a family network that will serve as his foundation to building his life up in a positive
direction. Thank you for your time.

Best,
Aqueenah Gude




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Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 41 of 62




        Exhibit D
                   Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 42 of 62

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        Exhibit E
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Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 46 of 62




        Exhibit F
             Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 47 of 62


Ashley Riser

From:           ANDREWS CLARENCE (19469111)

Sent Date:      Monday, November 9, 2020 2:54 PM

To:             ashley@jaynelawgroup.com

Subject:        conditions here


ashley,

i dont know how i neglected to inform you about an incident i witnessed last week. a fellow was beaten to death
wednesday 10/4 by 4 other inmates. its been reported that the victim is on life support, but i saw him die. it was a
horrible thing to see and i cant get what happened out of my head. whats crazy it that i, as every other individual
housed here, have been deemed a threat to society/our community yet the "threats" that exists here arent
deterred or in any way suppressed in this so-called controlled environment. im exhausted and/or drained mentally
and physically of this constant exposure to this madness. from a positive perspective, i have accomplished all
there is to gain from this place. to remain here from this point would only subject me to the negative effects of this
place and an inevitable erosion of a the good things gained. its like placing a refurbished bike on the beach to be
seen, but never allowing it to be used by a needy kid. instead its just left to be consumed by the elements of the
harsh environment.




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Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 48 of 62




       Exhibit G
      Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 49 of 62


From:           Ashley Riser
To:             LOX-ExecAssistant@bop.gov
Cc:             Julia Jayne
Subject:        Medical evaluation for Clarence Andrews (Reg. No. 19469-111)
Date:           Wednesday, December 2, 2020 9:39:00 AM


Name     CLARENCE ANDREWS
Reg. No. 19469-111

Good morning,

I am writing on behalf of Mr. Andrews because he has not received a response to his multiple
requests for medical evaluation and treatment of a sizable lump on his testes. What steps
should we take to get this resolved in a timely fashion?

Thank you,

Ashley Riser

Associate Attorney
Jayne Law Group
483 Ninth Street, Suite 200
Oakland, CA 94607
Cell
Work (510) 833-0250
Email ashley@jaynelawgroup.com
Web jaynelawgroup.com




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Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 50 of 62




       Exhibit H
              Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 51 of 62


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Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 52 of 62




          Exhibit I
        Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 53 of 62



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         Exhibit J
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       Exhibit K
                 Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 57 of 62


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           Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 59 of 62

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              Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 60 of 62



  Ģ̑ Èƒl4 ̑ ʋF ̑    ģ̑   Xƹ¾̑ $w̑ ˇ$Ïď̑ ?̑ Ȏ̑ ˸´;e ̑   [Ƒųȃ $˹ ̑ =Ʊlȏ Č̑
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                Case 4:14-cr-00094-YGR Document 81-2 Filed 01/15/21 Page 61 of 62

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              ʧíŠʆ÷ İʱ                                 łʱ ņö Ċ Ůǒggʱ
      ¡ŜƄ¨ʱ Žǩ
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      ŸtƇǪɓʩʱ ťÞnɃʱ
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      ś1]ɰʱ




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  ĿůĴđĭģĖʱ                               ŦȦɱÁƥ¯ʱ ȧ¹ʱ ŹŋĶkʱ ųʁªȃÁ¹ÂƦªɲÂ<țʱ ńŊŎźšʱ
  Ĕǟ V±ǟ
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  øØȃ ÂQȃ G/ùµNþ®ȃ .1O ,ª,MéÈÙȃ JKȃ êÃȃ ¦òÏP   ȃ 0É ȁÐȃ ¯¾ȃ §æȃ
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  ILßȃ îÄ·ȃ Ű±¸×NÍFÒȃ ²1PÀȃ ¨ȃ MÁ- ȃ" n(ĬǕȃ ȃ X Ėŧ(ĭǖ3ǗŠ Ɗȃ ćYȃ "ű<<"3kȃ
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   * ż( Ǚ  ¡ ȃ       ŅĵçĎŰŝʱ  ɗ" ʱ       ʀʱſƨʱ       

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                     /0.              1 2           


  ̭ šŻĈǚ9ȃ ƷPǏʠ̭  Ǜȃ ɲ˛Ƣȭǟ˸̭ Pʎ̭ `$ȃ à+.ȃ ɓɣ̭ ^^Ƌȃ ~ǩ$ȃ ǁȃ ~ơDŢƲYýȃ



               ṷ́ Ù $     A_̭ ^YźŅż̭
                  şŀŁ`ř»`ȸ ű¯ƈŋĽƉȸ ł«Żȸ ħ`¯µȸ Ų`ũƆ`żƀľķȸ
        ȃ ³¬*ȃ ¼½¹ȃ 1GõÎ÷ȃ Åçȃ A$ŵ̭ ©HHȃ áº/ï+¢ȃ
                 ê.ʱ     ȧgDȸ ƹƎȠ'ȸ 'Ɲ'ǂȡ'mȸ Áȸ ŨǃǱǶȸ ƥPǷÑȨȸ ǸnǕ'Pȃnȸ ȜØƠƦÚȸ ȱĂČā ǖ â'ä Ęȸ

                 ëƝʱ     ȩgȝȸ Əǹ'ȸ Ɛȸ ƞgǤȋǺÀÄȌȸ ÂgƑmƧǻȸ ãƨ " ƴ  ê ȸ ȄÛƒȍ'ȸ ǲȸ ǜÎÑÎȎPǼȪȸ      
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  ŌǨǝƓÜƪ ŚƔÖaȸ ÞƵŦƏǝİĠ ȃ                                           ŽȐƕËËȸ µPǞnȸ ťÚǅǩȑ'mȸ
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        ȃ Ó´ ŀÔıȃ 8H                                             ĭ"ȸ ĮǗ'ÌÌEȸ ŦŃ t­"ȸ




  ºnƵǄȆȏ'ȸ śDÖÂ'Ǿȸ                                                »ÛÁƯưȸ ƁǆȕÒ'ȸ
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       ƇǪǇȓȸ ƃƬƖǟȸ ƨŁŘŦǟ ǈǫȸ ȇ'ÄȔǉÙØȵȸĆȸ ÙƮȸ ƉƜƖ#ŧǟ řŨƝǂƵłǟ ůƊũǟ

kĀČǟ                                                  ģƲǞƻŗƳƇŌţşǟ ōǖǟ kÎÆÇƏǟ




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